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                         THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

   SYMBOLOGY INNOVATIONS, LLC,

                          Plaintiff,                   Civil Action No. 1:18-CV-20330-KMM
                  v.
                                                             JURY TRIAL DEMANDED
   CHEWY.COM,
                          Defendant.

                NOTICE OF DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

         Plaintiff Symbology Innovations, LLC, pursuant to Federal Rule of Civil Procedure

  41(a)(1)(A)(i), hereby gives notice of dismissal of the above-captioned action, with prejudice, with

  each party to bear its own costs, attorneys’ fees and expenses. The defendant has not answered or

  filed a motion for summary judgment, therefore no order is required under the Rule.

                                                Respectfully submitted,

                                                /s/ Alex J. Whitman
                                                Thomas C. Wright
                                                Admitted Pro Hac Vice
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                                                ATTORNEYS FOR PLAINTIFF




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